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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division



UNITED STATES OF AMERICA

                                                                        Criminal No.    l:25-MJ-373
V.


     Peter Andrew Stinson


                        Defendant.




                                              ORDER


         This matter comes before the Court on its own initiative. In accord with the Due Process

 Protections Act and Rule 5(f) of the Federal Rules of Criminal Procedure, this Court

 CONFIRMS the United States’ obligation to disclose to the defendant all exculpatory evidence,

 that is, evidence that favors the defendant or casts doubt on the United States’ case, as required

 by Brady V. Maryland, 373 U.S. 83 (1963) and its progeny, and hereby ORDERS the United
 States to do so. Failure to disclose exculpatory evidence in a timely manner may result in serious

 consequences, including, but not limited to, exclusion of evidence, adverse jury instructions,
 dismissal of charges, contempt proceedings, disciplinary action, or sanctions by the Court.



          The judge presiding over the first scheduled court date when both prosecutor and defense

 counsel are present shall give oral notice of the provisions in this Order. The presiding judge,
 pursuant to the Due Process Protections Act, shall also enter a written order in compliance with
 this Order.




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        Having given counsel the oral admonition required by the Due Process Protections Act,

this Order serves as the reminder of prosecutorial obligation and duties in accordance with Rule

 5(f) and the Eastern District of Virginia Standing Order concerning the same.



        It is SO ORDERED.




                                                                                              )
                                                              /s/ Ivan D. Davis
                                                            Ivan D. Davis
                                                            United States Magistrate Judge

Alexandria, Virginia
Date:   6/16/2025




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